Lily Dale Croy was murdered near Washington School, at Palmwood avenue and Wheeler street, in the city of Toledo, on the night of October 25, 1926. She taught fifth grade pupils at Gunckel School, and attended night school at the Toledo University two nights in the week, from seven to nine o'clock. On the evening of that date she left for her classes at the University shortly before seven. She failed to return at the usual time, however, and her mother, becoming alarmed, called Julius W. Weist, her son and half-brother of Lily Croy, and caused a search to be instituted. The body of the murdered girl was found about midnight by Weist, under the fire escape of the Washington School building. Weist was immediately suspected of the commission of the crime, and was quizzed many times by the police. Although many clues were followed up, the pursuit was unsuccessful. On March 10, 1927, police took Weist to the police station early in the evening, quizzed him regarding the murder at great length, and, having found a loaded revolver on his person, finally placed a charge of carrying concealed weapons against him. He gave bond the next afternoon, and was released. Immediately prior to his arrest many articles were published in the News-Bee regarding the murder, which were critical of the authorities, and especially so of the police for failure to discover and arrest the perpetrator of the crime. These articles had not only aroused the police department of the city, but the prosecuting attorney of the county, as well, who took steps to and did bring about a grand jury investigation. No indictment resulted, and no formal charge of murder was ever placed against Weist.
March 18, 1927, Weist brought an action in the court of common pleas of this county against the Toledo Newspaper Company, Gordon L. Ryder, John Hovey, Frank De Lora, William Ehrhardt, Harold C. Place and R.K. Weinans. The Toledo Newspaper Company *Page 390 
is and was publisher of the Toledo News-Bee. Gordon L. Ryder came here for the purpose of investigating the Croy murder, and while here furnished information for articles that were published by that paper. John Hovey, Frank De Lora and William Ehrhardt were detectives in the police department of the city of Toledo and instrumental in causing the arrest of Weist. Harold C. Place was and is the editor of the News-Bee, and R.K. Weinans was promotion director for the News-Bee, and is now holding the same position on the Springfield Union at Springfield, Massachusetts.
During the taking of testimony in the trial of the case in the court of common pleas the cause was dismissed by the plaintiff, without prejudice, as to the defendants John Hovey, Frank De Lora and William Ehrhardt.
At the conclusion of plaintiff's evidence, the court sustained a motion for a directed verdict, and judgment was entered in behalf of the remaining defendants.
The claim of counsel for Weist is that the defendants entered into a conspiracy to harm him by bringing him under suspicion and causing the public to believe or suspect that he was guilty of the murder of Lily Croy, and in furtherance of the conspiracy caused the plaintiff to be falsely arrested, maliciously prosecuted, slandered by its agents, and libeled by news stories appearing in the News-Bee. His counsel state their position in their brief as follows: "If there is no evidence in the record tending to establish the existence of a conspiracy, such as is alleged in the pleadings, the action of the trial court should be affirmed. If, on the other hand, there is any evidence of probative value from which the inference can reasonably be drawn that the defendants co-operated with one another in their attack against the plaintiff, resulting in damage to him, then unquestionably the *Page 391 
case should have been submitted to the jury for determination."
The law is that if two or more persons conspire together to ruin the reputation and good name of an innocent party, and in furtherance of the common purpose falsely accuse him of the crime of murder, and to that end cause him to be falsely arrested and maliciously prosecuted, slandered and libeled therefor, and thus damage his reputation, a recovery may be had for the damage so caused. Zurhorst v. Kroll, 10 C.C. (N.S.), 228, 21 C.D., 696. To hold that there could be no recovery for the damages caused by the execution of so fiendish and diabolical a plot would be to bring contempt upon the administration of justice. The only trouble with the case made by the evidence adduced by plaintiff is that there is no evidence tending to show such a conspiracy.
It is interesting in this connection to refer to the clues and information which pointed to the guilt of Weist at the time he was taken to the police station on March 10th. He was the first to find the body of his half-sister. It was known that he maintained a printing shop in which he lived and had sleeping quarters, and that he was accustomed to bring women there at night; and by his own admission, when questioned about it, he was "no angel." He had been divorced by two wives. He made conflicting statements to the police about finding the pocketbook and locket of the murdered girl.
A person, whose name is not disclosed in the record, had told Detectives Timiney and Carroll, who had been investigating the case, and Assistant Prosecuting Attorney Cochrane, who was supervising the investigation, that he positively identified Weist as a man that he had seen hanging around the university on the evening of the murder about the time Lily Croy would leave her classes, describing him, even to the black spots on his teeth on one side of his mouth. This person *Page 392 
stated that a girl came out of the university building and walked down to the corner of Washington street, turned left and started out Washington street toward Palmwood, which would be in the direction of the Washington School and Lily Croy's home, and that Weist followed her, and that he (the informant) followed both Weist and the girl for a block or so, and that then he thought Weist was "trying to pick the girl up," and left. The assistant prosecuting attorney even went out with the person who gave this information and went over the ground with him.
The investigators also had information that Weist was indebted to Lily Croy, and that Fred Schade, his employee, had stated that he unsuccessfully searched the living quarters in Weist's printing establishment soon after the murder, looking for blood, because he suspected that Lily Croy might have been killed there, and he desired to secure a portion of the reward offered. This information in the hands of the police and prosecuting attorney was sufficient to warrant the apprehension and questioning of Weist, and also a grand jury investigation.
In June, 1928, Stanley Hoppe was tried and found guilty of the brutal and sensual murder of a little girl. He was sentenced to death and has been electrocuted. During his trial he confessed to killing Lily Croy, and his deposition is on file in this case. The fact that he claimed to have killed Lily Croy was not known, however, until long after the happening of the things of which the plaintiff complains.
An examination of the articles published in the News-Bee fails to disclose that anything was published not warranted by the information at hand, under the undisputed evidence.
As there is no evidence in the record tending to show an actionable conspiracy, the court below did not err *Page 393 
in directing a verdict for the defendants, and the judgment will therefore be affirmed.
Judgment affirmed.
LLOYD and RICHARDS, JJ., concur.